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Debtor                        Bonamour Health Group, LLC                                                  Case number1d.,,.,.,n,,______________
               ,...,.

13. Each petitioner's claim                     Namo of potltloner                                      Nature of peU!loner's clalm                    Amount of the claim
                                                                                                                                                       above tile value of
                                                                                                                                                       any lien

                                                   GLC On-The-Go Jnc,                                          Acc,ouob Becetyabfo                      $       ZlZ 6!10 91!
                                                                                                                                                                $580,400.83
                                                                                                              Staffing Sarvic:ea                                 ___
                                                                                                                                                                 114,617.92
                                                   Shifster. LLC d/b/o Esh\lft                                                                          $

                                                    Herrmann Associates. LLC,_____                                   Goods & Services                            19 888,09
                                                                                                                                                        $

                                                   Print-Tech Copy Service & Olflcc Supply                         Goods & SeNlces                       $       29000 OD
                                                                                                              Tolal of petitioners' claims              $     846,969.91 ___


   If more space Is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
   the top of each sheet Following the format of this form, set out the lnfonnation required In Parts 3 and 4 of the form for oach
   addltlonal petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's attorney. Include the
   statement under penalty of perjury set out In Part 4 of the form, followed by each additional petitioner's (or representative's) signature,
   along with the signature of lh8 petitioner's attorney.



•iii         Request for Relief

   WARNING .• Bankruplcy fraud 1s a serious cnme. Making a false statement in connection with a bankruptcy case can result in fines up to
   5500.000 or lmprisonmenl for up to 20 years. or both. 18 U.S.C. §§ 152. 1341. 1519. and 3571.
   Petitioners requesflhal an order for relief be entered againsl the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning creditor 1s a corporation. auach the corporate ownership statement required by Bankruptcy Rule 101 O(b). If any petitioner Is a
   foreign representative appointed in a foreign proceeding. attach a certified copy of the order of the court granting recognition.
   I have examined the information in this document and have a reasonable bellef that the ,nformation is true and cor,ect.

   Petitioners or Potltloners' Ropresontatlve                                                Attorneys


   Name and malllng address of petitioner
                                                                                                Robert S. Bemataln
     GLC On-The-Go log                                                                       Printed name
   Name
                                                                                                Bematein-Burldey, P.C.
    55 Weston Road SuiJe aoo                                                                 Firm name, if any
   Number Street
          Weston                                   Florida                    33326           601 Grant Slree� 9th Floor
                                                 State                                       Number Street
   City.                                                             ZIP Code
                                                                                                Pittsburgh                                Peoasvlvaoia    15219
                                                                                             City                                       State          ZIP Code
   Name and malling address of petitioner's representative, if any

      L�.� L.9Y\,                                                                            Contact phone    (412) 456-8101          Email _dJj,.m.s.l�.ifl@berosteir)law com

                                                                                             Bar number      __...;3,,;4,.,,3:.,,.08"---------------
   Number      Streel

    ½.,,.-.es l___,,""
   City
                                                                                             Stale


   t declare under penalty of perjury that lhe foregoing is true and correct.

   Executed on L�� �
j(�O/YY�{e� � ; (\, �
                                 t@-i.y                          f        1
                                                                                             S,gnaluro of aHomcy


   Signature ol petiijoner or representative, Including repre$tlnlativa's tillc              Oeleslgned



Official Form 205                                                Involuntary Petilion /\gains! a Non-Individual                                              page3
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